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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:08CR439
                                            )
              Plaintiff,                    )
                                            )
              vs.                           )            TENTATIVE FINDINGS
                                            )
JOSEPH T. JORDAN,                           )
                                            )
              Defendant.                    )

      The Court has received the Presentence Investigation Report (“PSR”) and the

Defendant’s objections thereto (Filing No. 157). The government adopted the PSR (Filing

No. 156). The Defendant filed a motion for downward departure and a supporting brief

(Filing Nos. 158, 159.) See Order on Sentencing Schedule, ¶ 6. The Court advises the

parties that these Tentative Findings are issued with the understanding that, pursuant to

United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

      The Defendant objects to ¶ 49 (reference to two individuals in the third-party risk

paragraph) and ¶¶ 116-20 (alleged gang affiliation). The objections are denied for the

reasons stated in the Addendum to the PSR and because these matters do not affect the

sentencing guideline calculation.

      The Defendant’s motion for downward departure (Filing No. 158) will be heard at

sentencing.

      IT IS ORDERED:

      1.      The Defendant’s objections to the PSR (Filing No. 157) are denied;

      2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are
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required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final;

       4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing;

       5.     The Defendant’s motion for downward departure (Filing No. 78) will be heard

at sentencing; and

       6.     The Defendant’s motion for downward departure (Filing No. 158) will be heard

at sentencing.

       DATED this 26th day of June, 2009.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge




                                               2
